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                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                               AUSTIN DIVISION
United States of America,
    Plaintiff,

 v.
                                                          No. 1:23-cv-00853-DAE
Greg Abbott, in his capacity as
Governor of the State of Texas, and
the State of Texas,
     Defendants.

             DEFENDANTS’ MOTION TO PLACE CASE ON JURY DOCKET

       Defendants Greg Abbott, in his capacity as Governor of the State of Texas, and the State of

Texas hereby move the Court to place this case on its Jury Docket, and as grounds therefor

respectfully show as follows:

       1.      Defendants timely filed their Original Answer and Counterclaim herein on May 10,

2024 (ECF 118). In their Original Answer, Defendants demanded a jury trial in accordance with

Rule 38, Federal Rules of Civil Procedure. See Curtis v. Loether, 415 U. S. 189, 190 (1974) (jury

demand was timely when made in answer); In re Texas Gen’l Petroleum Corp., 52 F.3d 1330, 1339

(5th Cir. 1995) (“last pleading” as it appears in Rule 38 “usually means an answer”); 9 C. Wright

& A. Miller, Federal Practice and Procedure §§ 2318, 2320 (4th ed.).

       2.      Defendants on May 24, 2024, timely filed an Amended Answer and Counterclaim

herein and again demanded a jury trial in this case in accordance with Rule 38 of the Federal Rules

of Civil Procedure (ECF 120).




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        3.       Rule 39(a) of the Federal Rules of Civil Procedure provides:

                    When a jury trial demand has been demanded under Rule 38,
                    the action must be designated on the docket as a jury action.

To date, Defendants have not been advised that this case has been placed on the jury docket as

required by Rule 39(a). This case is currently set for trial on August 6, 2024 without designation as

a jury action.

        4.       Rule 39(a) further provides that trial on all issues so demanded must be by jury unless

the parties stipulate to a nonjury trial or the court, on motion or on its own, finds that on some or

all of the issues there is no federal right to a jury trial. There has been no stipulation of the parties

to a nonjury trial in this case. Even though Defendants filed their May 10 jury demand over forty

days ago, Plaintiff has filed no motion for nonjury trial as to any issues. Any such motion by Plaintiff

after this date would be untimely.

        5.       Defendants have a right to trial by jury under the Seventh Amendment to the United

States Constitution on the sole remaining claim against them in this case, namely Plaintiff’s claim

under Section 12 of the Rivers and Harbors Act, 33 U.S.C. § 406, as to the Floating Buoy Barriers

in the Rio Grande River. See Pernell v. Southall Realty, 416 U. S. 363, 374-76 (1974) (finding Seventh

Amendment right to trial by jury in action to require removal of persons or chattels, which is

analogous to the common law legal action for ejectment).

        WHEREFORE, Defendants respectfully request that the Court enter its order directing that

this case be set for trial on the jury docket as required by Federal Rule of Civil Procedure 39(a) and

that this case proceed to trial by jury on all issues, and for such other and further relief as may be

appropriate.




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Date: June 21, 2024                           Respectfully submitted,

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                                              Counsel for Defendants


                              CERTIFICATE OF CONFERENCE


       I certify that on June 20, 2024, I conferred with Plaintiff’s counsel and they are

opposed and contend that Defendants are not entitled to a jury trial.


                                                s/ Johnathan Stone
                                                Johnathan Stone
                                                Special Counsel




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                               CERTIFICATE OF SERVICE


       On June 21, 2024, this document was filed electronically through the Court’s

CM/ECF system, which automatically serves all counsel of record.


                                             s/ Johnathan Stone
                                             Johnathan Stone
                                             Special Counsel




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